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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

                                    GENERAL ORDER 23-0041

       It appearing that Jeannice Appenteng has entered on duty as a Magistrate Judge for the
Northern District of lllinois, with a duty stalion in Chicago, lllinois, effective October 27, 2023, and

          It further appearing that lnternal Operating Procedure 17 provides for the creation of an
initial calendar for a newly appointed magistrate judge; therefore

       It is hereby ordered that the attached list of civil consent, civil referrals, and criminal cases
are hereby reassigned to form the initial calendar of the Honorable Jeannice Appenteng; and

       It is furthered ordered pursuant to Local Rule 72.1 that Magistrate Judge Appenteng is to
become the designated magistrate judge in any pending civil or criminal cases where Magistrate
Judge Jeffrey L Cummings was the designated magistrate judge as of October 26,2023; and

         It is further ordered pursuant to Local Rule 73.1(e), the attached list of civil cases where
the parties   previously consented to proceed before the magistrate judge, pursuant to Local Rule
72.1 ,lhe    parties may object within 21 days of reassignment. lf a timely objection is filed by any
party, the case will be reassigned to the district judge before whom it was last pending; and

       It is further ordered that any civil case that has been reassigned pursuant to this Order will
not be randomly reassigned to create the initial calendar of a new magistrate .1udge for twelve
months from the date of this Order; and

        It is further ordered that, unless othen/ise ordered by Magistrate Judge Appenteng, all
hearing dates, deadlines, and schedules set by the magistrate judges in the attached list of cases
are to remain in effect.



                               ENTER:
                               FOR THE EXECUTIVE COMMITTEE




                                                    tAlt
                                     Re        R Pallm er, Chief Judge

Dated at Chicago, lllinois this 27th day of October, 2023
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Civil Consent Cases to be Reassioned to Ma qistrate Judqe Jeannice Appenteno


1:19-cv-02413      YorKown lndustries, lnc. et al v. Astor Graphics, lnc.
'l :'19-cv-03928   Aster Graphics, lnc. v. Yorktown lndustries, lnc. et al
1.21-cv-Q0224      Continental Paper Grading Co. v. National Railroad Passenger Corporation - Amtrak

1:21-cv-01298      Kesse v. Saul

1:21-cv-04161      Hamzic v. Kijakazi

1   :21-cv-04650   Botello v. Sergeant Lill et al

1   :21-cv-05089   Equal Employment Opportunity Commission v. Ford Motor Co.

1:21-cv-06074      Kostelny v. Kijakazi

1:22-cv-O0410      Meyers v. Kijakazi

1:22-cv-00656      Epperson v. Kijakazi

1.22-cv-00726      Purchase-Spence v. Kijakazi

1:22-cv-QQ852      Toliver v. Kijakazi
'l :22-cv-01600    Medlicott v. Kijakazi

1:22-cv-02397      Patton v. Kijakazi

1.22-cv-02867      Stewart v. Kijakazi

1:22-cv-03125      Thiery v. Ki.jakazi

1   :22-cv-03158   Andriola v. Kijakazi
1:22-cv-03423      O'Brien v. Kijakazi
1 22-cv-O3611      Mares v Kijakazi

1:22-cv-03946      Maluchnik v. Kijakazi

1:22-cv-04364      Hansen v. Kijakazi

1:22-cv-04505      Spencer v. Ralphs Grocery Company et al

1.22-cv-O4588      Hultquist v. Kilolo Kijakazi

1.22-cv-O4624      Wade v. Kijakazi
'l:22-cv-Q4806     Groves-Colon v. Kijakazi

1.22-cv-Q4921      Solar Micronics, lnc. v. Reddy
1.22-cv-05087      Cliff v. Kijakazi

1:22-cv-05422      Campagna v. Kijakazi
'l :22-cv-06165    Hill v. Kijakazi

1:22-cv-062'16     Vazquez v. Ki.jakazi

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1:22-cv-06761     Sanner v. Kijakazi

1.22-cv-07245     Tripenfeldas v. Kijakazi

1:23-cv-00064     Foster v. Kijakazi

1:23-cv-00608     Trester v. Kijakazi

1:23-cv-01143     Brown v. Titan Security

1 :23-cv-011 58   Givens v. Kijakazi
'1:23-cv-01408    Weber v. Kijakazi

1:23-cv-02006     Catchings v. Kijakazi

1:23-cv-02275     Veller llv, Kijakazi
1.23-cv-02404     Stasinski v. Kijakazi

1.23-cv-02614     Arenson v. Kijakazi
1:23-cv-02851     Bojes v Kijakazi

1:23-cv-03082     Bakopoulos v. Kijakazi

1.23-cv-03148     Nicholl v. Kijakazi

1:23-cv-03638     Cohan v. DDRTC VILLAGE CROSSING LLC

1:23-cv-Q3715     Scott v. Kijakazi, Acting Commissioner of the Social Security Administration

1:23-cv-04809     Legal Aid Chicago v. Hunter Properties, lnc.

1:23-cv-04961     Knize v. Kijakazi

1:23-cv-04996     Pisciotti v. Kijakazi

1:23-cv-06000     Haws v. Commissioner of Social Security

1:23-cv-07040     Rodriguez v. Kijakazi, Acting Commissioner of the Social Security Administration
'l :23-cv-10103   Jackson v. Ki.jakazi, Acting Commissioner of the Social Security Administration

1:23-cv-14O72     O'Brien v. Kijakazi




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Civil Referral Cases to be Reassiqned               Maqistrate Judqe Jeannice ADDentenq
                                                                                     Assiqned District Judqe
'1
     :   14-cv-01850   Sgouros v. TransUnion Corp.                                         Coleman

1 :      16-cv-03371    Sonrai Systems, LLC v. Anthony M. Romano                           Durkin

1 :      16-cv-09417   Maxson v. Dwyer                                                     Gettleman

1:17-cv-01972          Motorola Solutions, lnc. v. Hytera Communications Corporation Ltd   Valderrama

'1   :'18-cv-03335     Gomez v. Guevara                                                    Kocoras

1    :18-cv-03947      Ledesma v. Marriott lnternational, lnc.                             Ellis

1    :18-cv-04998      Pascal v. Top Tier Safety, lnc.                                     Valderrama

1    :18-cv-06550      Riviana Foods, lnc. v. Jacobson Warehouse lnc.                      Pacold

'l :18-cv-06829        Horton v. City Of Rockford                                          Valderrama

1 :      l8-cv-07098 Aguilar v. City of Chicago                                            Jenkins

1    :'19-cv-00266 Sporn v. TransUnion lnteractive, lnc.                                   Coleman

1:19-cv-O2412 Clay v. Dart                                                                 Wood

1    :19-cv-02796      Caracci v. American Honda Motor Company, lnc.                       Bucklo

1    :'19-cv-02965 Trustees of the Chicago Regional Council of Carpen v. Drive              Kendall
                   Construction, lnc.

'l :'19-cv-02995       Hall v. Dart                                                        Wood

1 :1     9-cv-04348    Martinez v. Dart                                                    Wood

1    :19-cv-04838      Archie v. City Of Chicago                                           Gettleman

1    :19-cv-06014      Vasquez v. City Of Chicago                                          Gottschall

1 :1     9-cv-06066    Dixon v. Dart                                                       Wood

1 .1     9-cv-06527    McCartney v. Platte River lnsurance Company                         Blakey

1 :1     9-cv-06702    Kuhlmann v. Dart                                                    Wood

1 :1     9-cv-07398    Hirsch v. Will County                                               Durkin

1.19-cv-07772          Su v. Su                                                            Valderrama

1 :1     9-cv-08190    Bratcher v. Nicholson                                               Kendall

1.20-cv-00261          Walker v. Dart                                                      Rowland

1    :20-cv-O1069 Gibson v. Chubb National lnsurance Company                               Bucklo
                                                                 3
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1:20-cv-01128 Flores v. Motorola Solutions lnc.                                  Tharp

'1.2Q-cv-01145 Mccowan v. lntegrated Pain Management, S.C.                       Durkin

1.20-cu-01444 Amor v. John Reid & Associates, lnc.                               Alonso

1.20-cv-02262 Laborers' Pension Fund v. Proven Contractors, lnc.                 Maldonado

1:20-cv-02956 Writfield v. Dart                                                  Valderrama

1:20-cv-03449 Gama v. Dart                                                       Valderrama

1:20-cv-03795 Kellum v. Dart                                                     Valderrama

1:20-cv-03840 Garcia v. Dart                                                     Valderrama

1:20-cv-03970 WEC 98C-5, LLC v. Saks lncorporated                                Valderrama

1:20-cv-04Q34 Cullom v. Dart                                                     Valderrama

1:20-cv-04047          Perez v. Dart                                             Valderrama

1:20-cv-04253         Mathis v. Dart                                             Valderrama

1:20-cv-04708 Richardson v. Dart                                                 Valderrama

1:20-cv-04793          Felix v. Roosevelt University                             Valderrama

1:20-cv-05096          Pearson v. Community Unit School District No. 303 et al   Blakey

1   :20-cv-05319      Coakley v. Dart                                            Valderrama

1:20-cv-05788          Pesek v. Pesek                                            Coleman

1:20-cv-0605'1        Gomez v. Rodarte                                           Gettleman

1:20-cv-06656         \Mlliams v. Gray                                           Kennelly

1:20-cv-06682         Graham v. Stateville Correctional Center                   Tharp

1:20-cv-06730         Bell v. Dart                                               Valderrama

1:20-cv-07009         \Mlson v. Dart                                             Valderrama

1   :20-cv-07015       lbarra v. Prospera, LLC                                   Alonso

'l :20-cv-071   1   9 Smith v. Dart                                              Valderrama

1:21-cv-07246         Baker v. Dart                                              Valderrama

'l:20-cv-07655 Emirates v. Assaf                                                 Tharp

1   :21-cv-003"19      Fair v. Pfister                                           Maldonado

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1:21-cv-00545 Allen Jr. v. Dart                                                  Valderrama

1:21-cv-01148 Arroyo v. City of Chicago Police Dept.                             Seeger

1:2'l -cv-O1182 Azuz v. Accucom Corporation                                      Hunt

1:21-an-01521 Pearson v. Dart                                                    Valderrama

1:21-cv-O2'193 Todd v. Dart                                                      Valderrama

1:21-cv-02468 Johnson v. Oart                                                    Valderrama

1:21-cv-0247       4 Bonner v. Dart                                              Valderrama

1:21-cv-03449 Colomb v. SOS Security LLC, d/b/a SOS Security of lllinois L       Daniel

1:21-cv-03495 Roberts v. Kohl's, lnc.                                            Hunt

1:21-cv-04683 Rancifer v. Consolidated Electrical Distributors, lnc.             Bucklo

1:21-cv-05312 Grubhub lnc. v. The Kroger Co.                                     Valderrama

1:21-cv-05790 Ali v. Credit Corp Solutions, lnc.                                 Alonso

''l:21-cv-05867 Turner v. GAC Star Quality, lnc.                                 Alonso

1:21-cv-06079 Curtis v. 7-Eleven, lnc.                                           Seeger

1:21-cv-Q6228 Tower Crossing Condominium Association lnc. v. Affiliated FM       Hunt
              lnsurance Company

1   :2'l-cv-0661   I Banks v. Dart                                               Valderrama

1:21-cv-06777 Corona v. City of Chicago, Department of Animal Care and Control   Daniel

1:22-cv-OO140 Wolfinger v. Skokie                                                Gettleman

1:22-cv-00389 Levin v. Altisource Solutions, lnc.                                Jenkins

1:22-cv-OQ914 The Heil Co. v. Wastebuilt Environmental Solutions, LLC            Seeger

1:22-cv-00964 Higuera v. City Of Chicago                                         Seeger

1   :22-cv-01 1 40 Oakley, lnc. v cjdropshipping.com                             Alonso

1:22-cv-01230 Davis v. Dart                                                      Valderrama

1   :22-cv-01536 The Driscoll Firm, P.C. v. Federal City Law Group, PLLC         Aspen

1:22-cv-01545 Hurley v. Navy Federal Credit Union                                Alonso

1:22-cv-017 42 Referral Reward, LLC v. ARO Financial, lnc.                       Coleman


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1:22-cv-02062 Morton v. Perry's Restaurants Ltd                                 Lelkow

1.22-cv-02265 Vital Proteins LLC v. Ancient Brands. LLC                         Tharp

1:22-cv-02333   Shophar v. Sloan                                                Valderrama

1:22-cv-02342 Guaranteed Rate, lnc. v. Rorvig                                   Gettleman

1:22-cv-025QQ Angie Dik, ln Her Capacity as Trustee for The John v. Freedom     Pacold
                Capital Group, LLC

1:22-cv-02785 Bowman v. Chicago Housing Authority                               Maldonado

1:22-cv-03509 Reflection Wndow & Wall, LLC v. Talon Wall Holdings, LLC          Maldonado

1:22-cv-03549 American Kitchen Delights, lnc. v. City Of Harvey                 Gettleman

1:22-cv-03555 \y'Vilson v. Dolton School District 149                           Kness

1:22-cv-03867 Blockhus v. United Airlines, lnc.                                 Gettleman

1:22-cv-03891 Strong v. FedEx Corporation                                       Wood

1.22-cv-O3987 Advanced Physical Medicine of Yorkville, Ltd. v. Allied Benefit   Leinenweber
              Systems, lnc.

1:22-cv-04563 Higgins v. Village of Lyons                                       Seeger

1:22-cv-04673 West v. Village of Dolton                                         Valderrama

1:22-cv-04795 Turner v. Dollar Tree Stores, lnc.                                Gettleman

1:22-cv-04948 Keeling v. Collection Professionals, lnc.                         Valderrama

1:22-cv-O5O28 Zip Top, lnc. v. S.C. Johnson & Son, lnc.                         Alonso

1:22-cv-O51M Kellum v. Dart                                                     Valderrama

1:22-cv-06064 Alba v. El Pollo Real, lnc.                                       Hunt

1:22-cv-06177 Ramona LaRue, lnc. v. The Entities and lndividuals ldentified     Alonso
              in Annex A

1:22-cv-06589 Shelton v. Starcon lnternational, lnc.                            Pacold

1:22-cv-O6737 Hobbs v. Menard, lnc.                                             Hunt

1:22-cv-07119 Roadget Business PTE. Ltd. v. Whaleco, lnc. et al                 Valderrama

1:22-cv-O7220 Joudeh v. Gamma Team Security, lnc.                               Tharp

1:22-cv-O7332 Alamilla v. Stagecoach Leasing lnc.                               Chang



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             Case: 1:16-cv-03371 Document #: 609 Filed: 10/27/23 Page 8 of 10 PageID #:18470
1.22-cv-07367 Ardagh Metal Packaging USA Corp. v. American Craft                 Daniel
              Brewery, LLC

1    :23-cv-00139 Jackson v. Aperion Care, lnc.                                  Ellis

1:23-cv-00208 Rogowski v. Hektoen lnstitute for Medical Research, LLC            Rowland

1:23-cv-00335 Gruar v. Primetime Logistics Services, lnc.                        Kness

1:23-cv-00868 Omnireps, LLC v. CDW Corporation                                   Pacold

1:23-cv-00977 Stacey v. AT&T Corp.                                               Chang

1:23-cv-01223 Thomas v. Cook County Health Services                              Pacold

1:23-cv-01291 Fox Valley & Vicinity Construclion Workers Welfare v. Ruane        Hunt
              Construction, lnc.

1:23-cv-01435 Cortez v. Target Corporation                                       Valderrama

1:23-cv-0'1466 Cortes v. Zubha Pop Foods, LLC                                    Tharp

1:23-cv-01907 Edon Construction Co., lnc. v. Lowe's Home Centers, LLC            Blakey

1    :23-cv-0'1997 Dyson, lnc. v. Sonwil Distribution Center, lnc.               Alonso

1:23-cv-Q211Q Sincavage v. Trans Union, LLC                                      Chang

'1   :23-cv-02'150 Trigilio v. Walmart lnc.                                      Pacold

1:23-cv-02277 Brown v. 474 North Lake Shore Drive Condominium Association        Pacold

1:23-cv-02371 Nesbitt v. Harvey (#343)                                           Valderrama

1:23-cv-O2594 Cocic v. Target Corporation                                        Kness

'l:23-cv-02842 Alvarado v. Home Depot U.S.A., lnc.                               Valderrama

'l:23-cv-02866 The Huntington National Bank v. Del Priore                        Tharp

1.23-cv-02951       Franklin Capital Holdings, LLC v. Fuell lnc.                 Rowland

1:23-cv-03118 Legacy Event Lounge, lnc. v. Denson                                Chang

1:23-cv-03219 BCL-CRE 3 Sub North LLC v. Just                                    Pacold

1:23-cv-03225 Moore v. AJ's Dent, LLC                                            Chang

1:23-cv-03360 Sheppard v. Village of Robbins, lllinois                           Chang

1:23-cv-0344Q Lacey v. The TJX Companies, lnc.                                   Tharp

1:23-cv-03555 FCA US LLC v. The Partnerships and Unincorporated Associations I   Alonso

1:23-cv-03675 Esbrook P.C. v. Wesco lnsurance Company                            Hunt
                                                            7
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1:23-cv-O3726 Falconer v. UNITED STATES OF AMERICA                             Tharp

1:23-cv-O3771   Hopkins v. City Wnery Chicago, LLC                             Kocoras

1.23-cv-03804 Central Plaza, LLC v. United National lnsurance Company          Pacold

'l:23-cv-03883 Smith v. Cinemark USA, lnc.                                     Maldonado

1.23-cv-04040 Lukidis-Douligeris v. Costco Wholesale Corporation, a            Hunt
              Washington Corpora

1:23-cv-04292 Myrsyraimov v. Pearson Bros Trucking LLC et al                   Daniel

1:23-cv-04461 Fernandes v. Fomard Science LLC                                  Kness

1:23-cv-04867 Mosby-Oke v. Midland Credit Management, lnc.                     Pacold

1:23-cv-O5227 Surchil, LLC v. The Travelers lndemnity Company of Connecticut   Pacold

1:23-cv-05490 Reusch, Jr v. The Hertz Corporation                              Pacold

1:23-cv-05535 Roadlander v. Walter                                             Bucklo




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Criminal Cases to be Reassi oned to Maoistrate Judoe Jeannice A DDE nten o
1   .22-cr-00251 USA v. Blacha
1:23-cr-00485 USA v. Alvarado
1:23-ct-00492 USA v. Gonzalez


Closed Civil Cases to be Reassiq ned to Maqistrate Judqe Jeannice Appentenq
1   :11-cv-07160   Voga v. Frisbee

1:22-cv-00605      Sheet Metal Workers' lnternational Assocation, Local No. 73 et al v. Complete Mechanical
                   Piping, LLC




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